   Case 3:19-cv-06742-FLW-TJB Document 15 Filed 05/28/19 Page 1 of 1 PageID: 209


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A SO. DISi. N’I1EA DlS’r. NY
+ 50. IMST. NY                                                                               RICHARD T. RAPONE (Ret.)
  MASS
V NJ& PA BARS                                                    May 25, 2019

             Via CM/ECF
             The Honorable Freda L. Wolfson, U.S..DJ.
             United States District Court
             District of New Jersey
             Clarkson S. Fisher federal Building
             and U.S. Courthouse
             402 E. State St., Room 5050
             Trenton, NJ 08608

                          Re:   Kashmir Gill v. JUS Broadcasting Corp., et al.
                                Case No. 3:1 9-cv-06742-FLW-T1B

             Dear Judge Wolfson:

                    This firm represents the Defendants in the above matter. I write to res ec
             request that our motion be rescheduled for the next motion cycle, which       June 17,
             2019. My adversary has consented to this request. In addition, my adversary as
             consented to my Reply papers being due by June 3, 2019.

                         Thank you for your courtesies and consideration.




                                                             MICI-IAEL FARHI
            MF/jk
            cc:   Alan R. Ackerman, Esq.


                                                                            IT IC SO ORDERED:


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